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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No.: 18-cv-2561-RBJ

PRECISION DISCOVERY, INC., f/k/a
PRECISION DISCOVERY, LLC,

Plaintiff,

v.

HITACHI VANTARA CORPORATION, f/k/a
HITACHI DATA SYSTEMS, COLD CREEK
SOLUTIONS, INC., and HOWARD HOLTON,
in his individual and professional capacities,

Defendants.


        NOTICE AND STIPULATION OF VOLUNTARY DISMISSAL WITHOUT
                              PREJUDICE



        Plaintiff Precision Discovery, Inc., f/k/a Precision Discovery, LLC (“Precision”), with

the stipulation and consent of defendants who have appeared in this action, Hitachi Vantara

Corporation, f/k/a Hitachi Data Systems, and Cold Creek Solutions, Inc., and pursuant to

Federal Rule of Civil Procedure 41(a)(1(ii), hereby voluntarily dismisses this action, without

prejudice, with each party to bear their own attorneys’ fees, costs, and expenses arising from

this Civil Action.
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Dated this 1st day of August, 2019 in Denver, Colorado.

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Stipulated and agreed to by:

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                              CERTIFICATE OF SERVICE

        I hereby certify that on August 1, 2019, I electronically filed the foregoing NOTICE
AND STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE with the
Clerk of Court using the CM/ECF system which will send notification of such filing to the
following email addresses:

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                                                            /s/ Lawrence M. Pearson
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